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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                              CASE NO. _______________________

 DEMETRICE SPANN,

                Plaintiff,

 v.

 WALMART INC.,

                Defendant.
                                                    /

                             DEFENDANT’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant, WALMART INC.

 (“Defendant”), by and through its undersigned counsel, hereby gives notice that the civil action

 identified as DEMETRICE SPANN V. WALMART INC., Case No.: 21-003279-CA-01, currently

 pending in state court in the Eleventh Judicial Circuit, in and for Miami-Dade County, Florida

 (“Eleventh Judicial Circuit”), is removed to this Court without waiving any rights to which

 Defendant may be entitled, and states:

 I.     REMOVAL IS TIMELY

        1.      On or about February 16, 2021, Plaintiff commenced this action against Defendant

 in the Eleventh Judicial Circuit. On March 10, 2021, Defendant’s registered agent received,

 through service, a copy of the initial pleading setting forth the claim for relief upon which this

 action is based. See Return of Service, attached hereto as Exhibit “A.”

        2.      This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b), within

 thirty-days (30) from the date on which the summons was served. No orders have been signed by

 the state judge presiding over the State Court Action.
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 II.    REMOVAL BASED ON DIVERSITY OF CITIZENSHIP IS PROPER

        3.      This case is a civil action that may be removed to this Court pursuant to 28 U.S.C.

 §§ 1332, 1441 and 1446 because it is an action between citizens of different states and the amount

 in controversy exceeds the sum of $75,000, exclusive of interest and costs.

        A.      Diversity of Citizenship Exists

        4.      To qualify for diversity jurisdiction, there must be complete diversity between the

 parties, which means no plaintiff may be a citizen of the same state as any defendant. See Pease v.

 Medtronic, Inc., 6 F. Supp. 2d 1354, 1356 (S.D. Fla. 1998) (citations omitted).

        5.      Accepting the allegations in Plaintiff’s Complaint as true, Plaintiff is a resident and

 citizen of the State of Florida. See Ex. A, Compl. ¶ 2.

        6.      For purposes of diversity jurisdiction, “a corporation shall be deemed to be a citizen

 of any State by which it has been incorporated and of the State where it has its principal place of

 business.” 28 U.S.C. § 1332(c)(1).

        7.      First, Defendant Walmart Inc. is a corporation organized and existing under the

 laws of the State of Delaware. See Florida Department of State, Division of Corporations, Entity

 Details, attached hereto as Exhibit “B.” Defendant Walmart Inc. is therefore a citizen of Delaware

 for diversity purposes.

        8.      Second, to determine a corporation’s “principal place of business,” the Supreme

 Court has held courts should apply the “nerve center” test. Hertz Corp. v. Friend, 559 U.S. 77,

 92-93 (2010). Under that test, a corporation’s principal place of business is the state in which the

 corporation’s officers direct, control, and coordinate the corporation’s activities. Id. A

 corporation’s principal place of business normally is the state in which it maintains its main

 headquarters. Id.




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        9.      Here, Defendant Walmart Inc. has its principal place of business in Arkansas, and,

 accordingly, is a citizen of Arkansas for purposes of diversity. See Ex. B.

        10.     In summary, Defendant Walmart Inc. is a citizen of Arkansas and Delaware

 pursuant to § 1332(c)(1).

        11.     Accordingly, diversity of citizenship for purposes of 28 U.S.C. § 1332(a)(1) exists

 between Plaintiff (a citizen of Florida) and Defendant (a citizen of Delaware and Arkansas) at the

 time of filing this Notice of Removal.

        B.      The Amount In Controversy Has Been Met

        12.     Pursuant to 28 U.S.C. § 1332(a)(1), diversity jurisdiction also requires the amount

 in controversy to “exceed the sum or value of $75,000.00.”

        13.     Where the initial pleading does not demand a specific sum, the notice of removal

 may assert the amount in controversy. 28 U.S.C. § 1446(c)(2)(A). The Supreme Court has held

 that a removing defendant “need include only a plausible allegation that the amount in controversy

 exceeds the jurisdictional threshold” and need not submit evidence in support thereof. See Dart

 Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014).

        14.     In assessing the amount in controversy, the Court considers the value of the

 plaintiff’s claims by estimating the amounts that “will be put at issue during the litigation,” and

 not how much plaintiff is ultimately likely to recover. South Fla. Wellness, Inc. v. Allstate Ins. Co.,

 745 F.3d 1312, 1315 (11th Cir. 2014); see also Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

 751 (11th Cir. 2010) (citation omitted) (explaining “the plaintiffs’ likelihood of success on the

 merits is largely irrelevant to the court’s jurisdiction because the pertinent question is what is in

 controversy in the case, not how much the plaintiffs are ultimately likely to recover”); McPhail v.

 Deere & Co., 529 F.3d 947, 956 (10th Cir. 2008) (same). In conducting its analysis, the Court may

 rely upon its “judicial experience and common sense,” rather than a plaintiff’s self-serving



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 representations that the value of his claims is indeterminate. Roe v. Michelin N. Am., Inc., 613 F.3d

 1058, 1064 (11th Cir. 2010).

        15.     A plain reading of Plaintiff’s Complaint – together with the jurisdictional

 allegations herein – demonstrate that the amount in controversy exceeds the sum of $75,000.00,

 and thus meets the jurisdictional amount required for removal based on diversity. See 28 U.S.C. §

 1332(a).

        16.     Specifically, Plaintiff alleges in his Complaint that Defendant discriminated against

 him on the basis of his race and national origin, and that Defendant retaliated against him for

 engaging in a protected activity under the Florida Civil Rights Act of 1992, Fla. Stat. §760.01 et

 seq. (“FCRA”). See Ex. A, Compl. ¶1.

        17.     Plaintiff claims to have suffered “irreparable injury and compensable damages as a

 result of Defendant’s discriminatory practices,” including lost wages and benefits, front pay,

 compensatory damages for mental anguish, personal suffering, and loss of enjoyment of life;

 punitive damages, and reasonable attorneys’ fees. See Ex. A, Compl. WHEREFORE Paragraph,

 Counts I, II, and III. Compensatory damages, lost wages, punitive damages, and attorneys’ fees

 are all recoverable pursuant to the FCRA. See Fla. Stat. § 760.11(5).

        18.     With respect to lost wages, back pay should be calculated from the time of the

 adverse employment action through the date of trial. See e.g., Pope v. 20/20 Commc’ns, Inc., No.

 8:15-cv-1774-30JSS, 2015 WL 5165223, at *2 (M.D. Fla. Sep. 2, 2015) (back-pay damages

 calculated through proposed date of trial); Hendry v. Tampa Ship, LLC, No. 8:10-cv-1849-T-30-

 30TGW, 2011 WL 398042, *2 (M.D. Fla. Feb. 4, 2011) (“Back pay is generally calculated from

 the date of the adverse employment action to the date of judgment.”); Morgan v. Sears, Roebuck

 & Co., No. 12-60055-CIV, 2012 WL 2523692, at *2 (S.D. Fla. June 29, 2012) (calculating back




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 pack from time of termination through expected trial date, noting that court may use its “judicial

 experience and common sense” in making that determination); Penalver v. N. Elec., Inc., No. 12-

 80188-CIV, 2012 WL 1317621, at *3 (S.D. Fla. Apr. 17, 2012) (calculating back pay through the

 “first possible trial date” approximately ten months after removal); Messina v. Chanel, Inc., No.

 10-24518-CIV, 2011 WL 2610521, at *2 (S.D. Fla. July 1, 2011) (including back pay through

 estimated time of trial eighteen months in the future). Indeed, the Eleventh Circuit has approved

 calculating back pay through the estimated time of trial for purposes of the amount in controversy.

 See Wineberger v. Racetrac Petroleum, Inc., No. 5:14-cv-653-Oc-30PRL, 2015 WL 225760, at *3

 (M.D. Fla. Jan. 16, 2015) (calculating back pay from termination through estimated trial date of

 twenty-four months after complaint was filed, along with front pay of one year), aff’d by

 Wineberger v. RaceTrac Petroleum, Inc., 672 F. Appx. 914, 917 (11th Cir. 2016) (approving

 same).

            19.     At the end of his employment, Plaintiff was paid on a salary basis and earned

 $53,764.36 per year ($1,033.93 per week) with Defendant at the time of his termination, which

 occurred on or about April 7, 2019. As of the date of this removal, it has been approximately 104

 weeks since April 7, 2019. Accordingly, the amount of Plaintiff’s back pay in controversy to date

 is approximately $107,528.72,1 not including the value of benefits. Adding an additional 52 weeks

 of back pay to account for the expected time between now and trial (expected 1 year until trial),

 Plaintiff could recover approximately $161,293.08 in total back pay.2

            20.     Front pay further augments the amount of lost wages in this action. See Brown v.

 Cunningham Lindsey U.S., Inc., No. 305CV141J32HTS, 2005 WL 1126670, at *4 (M.D. Fla.

 May 11, 2005) (crediting back pay from the time of plaintiff’s termination through the estimated


 1
     $1,033.93 per week * 104 weeks = $107,528.72.
 2
     $1,033.93 per week * 52 weeks = $53,764.36 + 107,528.72 = $161,293.08 back pay in controversy through trial.




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 time of trial and crediting one year of front pay as a conservative measure of potential future lost

 wages); Wineberger, 672 F. App’x at 917 (approving inclusion of one year of front pay in amount

 in controversy calculation under FCRA); see also Munoz v. Oceanside Resorts, Inc., 223 F.3d

 1340, 1349 (11th Cir. 2000) (affirming district court’s award including one year’s worth of front

 pay in discrimination case). Thus, adding one year of front pay results in approximately $53,764.36

 of lost wages, for a total of $215,057.44 in back and front pay.3

            21.     Additionally, district courts routinely include compensatory damages in the form

 of pain and suffering, which Plaintiff seeks in this case, in the jurisdictional amount as well. See

 Estevez-Gonzalez v. Kraft, Inc., 606 F. Supp. 127, 129 (S.D. Fla. 1985) (including unspecified

 amount of compensatory damages for “physical and mental pain, physical handicap, impairment

 of working ability, injuries permanent or continuing in nature, and medical expenses”); Bartley v.

 Starwood Hotel & Resorts Worldwide, Inc., No. 07-80637-CIV, 2007 WL 2774250, at *1 (S.D.

 Fla. Sept. 24, 2007) (finding that complaint “clearly established” amount in controversy based on

 general allegations of pain, mental anguish, scarring, disfigurement, loss of enjoyment of life,

 medical expenses, etc.). For instance, a judge in the Middle District of Florida included

 compensatory damages in the range of $5,000-$30,000 under the FCRA for purposes of calculating

 the amount in controversy, when the complaint merely alleged emotional distress in the nature of

 “that which would have been experienced by most individuals suddenly terminated from their jobs

 for unsavory reasons.” Wineberger, 2015 WL 225760 at *4, aff’d by Wineberger, 672 F. Appx. at

 917. The Eleventh Circuit has held that objective medical testimony is not necessary to support

 an award of emotional distress damages under FCRA, and plaintiff’s lay testimony concerning the

 emotional impact of illegal termination was itself sufficient to support such award. See Munoz,



 3
     $161,293.08 back pay + $53,764.36 front pay = $215,057.44




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 223 F.3d at 1348 (affirming jury award of $150,000 for emotional distress caused by illegal

 termination under FCRA); see also Bernstein v. Sephora, Div. of DFS Grp. L.P., 182 F. Supp. 2d

 1214, 1228 (S.D. Fla. 2002) (finding compensatory damages of $75,000.00 was maximum

 recoverable in discrimination case when evidence consisted mainly of plaintiff’s “own rather

 conclusory testimony about her general distress”).

           22.      As a result, to the extent Plaintiff purports to seek emotional distress damages,

 $15,000.00 for emotional pain and suffering is a conservative estimate to include in the amount in

 controversy calculation.4

           23.      Additionally, punitive damages must also be included in the amount in controversy,

 as they are recoverable under the FCRA. See Holley Equip. Co. v. Credit All. Corp., 821 F.2d

 1531, 1535 (11th Cir. 1987) (“When determining the jurisdictional amount in controversy in

 diversity cases, punitive damages must be considered . . . unless it is apparent to a legal certainty

 that such cannot be recovered.”). Under the FCRA, the maximum punitive damage award

 allowable for a plaintiff is $100,000. See § 760.11(5), Fla. Stat. Thus, Plaintiff’s request for

 punitive damages under the FCRA, alone, satisfies the “amount in controversy” requirement. Id.;

 Cowan v. Genesco, Inc., Case No. 3:14-cv-261-J-34JRK, 2014 WL 3417656, at *4 n.7 (M.D. Fla.

 July 14, 2014) (“[McDaniel, 568 Fed. Appx. 729, 731] can be read as supporting the conclusion

 that a plaintiff's mere request for punitive damages under the FCRA, given the $100,000 statutory

 limit, would satisfy the amount in controversy.”).

           24.      Given the facts alleged in the Complaint – namely, that Plaintiff was intentionally

 discriminated against on the basis of his race and national origin, and was subsequently retaliated

 against for engaging in a protected activity – $15,000.00 in punitive damages is an appropriate



 4
     $215,057.44 + $15,000 = $230,057.44.




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 estimate of what she could likely recover if the allegations are proven beyond a preponderance of

 the evidence.5

           25.      Adding Plaintiff’s claim for attorneys’ fees, which are recoverable under the FCRA,

 to the amount in controversy calculation, there is no question that the amount in controversy well

 exceeds the $75,000.00 threshold. See Penalver, 2012 WL 1317621 at *3 (including reasonable

 attorney’s fees in amount of controversy calculation).

           26.      Therefore, because the amount in controversy clearly exceeds $75,000.00,

 exclusive of interest and costs, and this action is between citizens of different states, this Court has

 original jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1332(a), and this case may be

 removed to this Court by Defendant pursuant to 28 U.S.C. §§ 1441 and 1446.

 III.      REMOVAL TO THE SOUTHERN DISTRICT OF FLORIDA IS PROPER

           27.      Pursuant to 28 U.S.C. §1446(a), the United States District Court for the Southern

 District of Florida, Miami Division (“Southern District of Florida”), is the judicial district and

 division embracing the Eleventh Judicial Circuit, where this case was brought and is pending, and

 is therefore the proper district court and division to which this case must be removed.

 IV.       ALL REQUIREMENTS NECESSARY FOR REMOVAL HAVE BEEN MET

           28.      Pursuant to 28 U.S.C. §1446(a), a copy of all process, pleadings, and orders that

 have to date been served upon Defendant or filed in the State Court Action are attached hereto as

 Exhibit “A.”

           29.      There are no motions currently pending in this action in the Eleventh Judicial

 Circuit. Accordingly, there are no pending motions or documents being filed along with this Notice

 of Removal, as would otherwise be required.



 5
     $230,057.44 + $15,000 = $245,057.44.




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        30.     Pursuant to 28 U.S.C. §1446(d), promptly after the filing and service of this Notice

 of Removal, Defendant’s Notice to Plaintiff of Removal will be served upon the following counsel

 for Plaintiff via email: Peter M. Hoogerwoerd, Esq., Remer & Georges-Pierre, PLLC,

 pmh@rgpattorneys.com.

        31.     Further, pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal, along

 with Defendant’s Notice to Plaintiff of Removal, will be filed with the Clerk of the Court for the

 Eleventh Judicial Circuit. See Notice of Removed Action, attached as Exhibit C.

        WHEREFORE, Defendant respectfully gives notice of the removal of this action currently

 pending in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

 Florida to the United States District Court for the Southern District of Florida, Miami Division.



 Dated: April 9th, 2021                    Respectfully submitted,
                                           FORDHARRISON LLP

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                                                 Walmart Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 9th day of April, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using the Florida e-Filing Portal Electronic Docketing

  System. I also certify that the foregoing document is being served this day on all counsel of record

  or pro se parties identified on the attached Service List in a manner specified, either via

  transmission of Notices of Electronic Filing generated by Florida’s e-Filing Portal Electronic

  Docketing System or in some other authorized manner for those counsel or parties who are not

  authorized to receive electronically Notices of Electronic Filing.

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